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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                           MINNEAPOLIS DIVISION

 JAMES        FUTRELL          and CHRIS Case No. 0:22-cv-00969-JRT-TNL
 ROGERS, each individually and on behalf FLSA Collective Action
 of all others similarly situated,       FED. R. CIV. P. 23 Class Action

 v.                                             Judge John R. Tunheim

 CARGILL, INCORPORATED                          Magistrate Judge Tony N. Leung


                      PLAINTIFFS’ UNOPPOSED
             MOTION TO APPROVE SETTLEMENT AGREEMENT

       Plaintiffs request the Court approve the settlement reached in this Fair Labor

Standards Act (FLSA) case. The Settlement Agreement represents the culmination of

Plaintiffs’ and Plaintiffs’ counsel’s investigation, litigation, and negotiation. It

completely resolves Plaintiffs’, and the rest of the proposed collective’s, claims at issue

in this lawsuit. The settlement is fair and reasonable, and it will provide meaningful

relief to Plaintiffs and the similarly situated employees of Cargill who opt-into the

Settlement, in light of the inherent risks of litigation and trial. Cargill has defended the

claims in this lawsuit and continues to deny any wrongdoing, the violation of any

federal or state wage-and-hour law, and any damages at issue.

       For these reasons, settlement of this matter is in the best interest of Plaintiffs

and the proposed collective members. Plaintiffs request the Court approve the Parties’

Settlement Agreement, including notice to the proposed collective, and dismiss the

alleged claims with prejudice.

       The motion is supported by the accompanying memorandum and exhibits.
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                           Respectfully submitted,

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